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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Case No. 06-cr-134-02-SM

Raymond Jackson

                                    ORDER

      Defendant Jackson’s motion to continue the final pretrial conference and

trial is granted (document 40).     Trial has been rescheduled for the September

2007 trial period. Defendant Jackson shall file a waiver of speedy trial rights

not later than May 21, 2007. On the filing of such waiver, his continuance shall

be effective. No further continuances absent extraordinaray circumstances. The

parties shall be prepared to go forward as scheduled.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendant the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: August 24, 2007 at 2:30 p.m.

      Jury Selection: September 5, 2007 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

May 11, 2007

cc:   Paul Garrity, Esq.
      Mark Howard, AUSA
      US Probation
      US Marshal




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